        Case 3:12-cv-04854-LB Document 1614 Filed 04/26/23 Page 1 of 2




                    UNITED STATES COURT OF APPEALS                       FILED
                           FOR THE NINTH CIRCUIT                          APR 26 2023
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
DJENEBA SIDIBE; et al.,                         No.    22-15634

                Plaintiffs-Appellants,          D.C. No. 3:12-cv-04854-LB
                                                Northern District of California,
 v.                                             San Francisco

SUTTER HEALTH,                                  ORDER

             Defendant-Appellee,
______________________________

AETNA HEALTH OF CALIFORNIA, INC.;
et al.,

                Intervenors.

Before: Lisa B. Fitzgerald, Appellate Commissioner.

      Intervenor United HealthCare Services, Inc.’s unopposed motion (Docket

Entry No. 125) to maintain under seal portions of Volumes 7 and 12 of the

excerpts of record and portions of Volume 19 of the supplemental excerpts of

record, is granted. The Clerk will file publicly the motion to seal and supporting

declaration (Docket Entry Nos. 125-1, 125-2). The Clerk will maintain under seal

Docket Entry Nos. 125-3, 125-4, and 125-5.

      Appellants filed a notice of intent to file publicly Volume 2 of the further

excerpts of record (Docket Entry No. 94). See 9th Cir. R. 27-13(f). The

unopposed motions to maintain portions of Volume 2 of the further excerpts of

MKS/MOATT
        Case 3:12-cv-04854-LB Document 1614 Filed 04/26/23 Page 2 of 2




record under seal (Docket Entry Nos. 100, 101, 102) are granted.

      The Clerk will unseal the notice (Docket Entry No. 94-1) and file publicly

the motions to seal (Docket Entry Nos. 100, 101, 102), the reply brief (Docket

Entry No. 95), and Volume 1 of the further excerpts of record (Docket Entry No.

93). The Clerk will file under seal Volume 2 of the further excerpts of record

(Docket Entry No. 94-2).

      Briefing is complete.




MKS/MOATT                                2                                   22-15634
